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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                     Case No.
  CHRISTOPHER DEFRANCO,

          Plaintiff,

  v.

  NORWEGIAN CRUISE LINE HOLDINGS,
  LTD, d/b/a NORWEGIAN CRUISE LINE, a
  foreign corporation, NCL BAHAMAS LTD,
  d/b/a NORWEGIAN CRUISE LINE, a
  foreign corporation, NCL CORPORATION
  LTD, d/b/a NORWEGIAN CRUISE LINE, a
  foreign corporation, NORWEGIAN DAWN
  LIMITED, a foreign corporation, NCL
  AMERICA LLC, a Delaware Limited
  Liability Company.

        Defendants.
  ______________________________________/

                       COMPLAINT FOR MARITIME PERSONAL INJURY
                         DAMAGES WITH DEMAND FOR JURY TRIAL

          COMES NOW, the Plaintiff, CHRISTOPHER DEFRANCO, by and through the

  undersigned attorney and sues Defendants, NORWEGIAN CRUISE LINE HOLDINGS, LTD,

  d/b/a NORWEGIAN CRUISE LINE, a foreign corporation, NCL BAHAMAS LTD, d/b/a

  NORWEGIAN CRUISE LINE, a foreign corporation, NCL CORPORATION LTD, d/b/a

  NORWEGIAN CRUISE LINE, a foreign corporation, NORWEGIAN DAWN LIMITED, a

  foreign corporation, NCL AMERICA LLC, a Delaware Limited Liability Company, and alleges

  as follows:

                                           JURISDICTION

  1. This action is within the diversity jurisdiction of this Court pursuant to 28 U.S.C. §1332.

  2. This action is for damages involving a sum, exclusive of interest and costs, in excess of

       $75,000.00.
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  3. This action is within the admiralty jurisdiction of this Court pursuant to 28 U.S.C. § 1333.

  4. At all times material times hereto, Plaintiff CHRISTOPHER DEFRANCO was a fare

     paying passenger and business invitee on Defendant NORWEGIAN CRUISE LINE’s

     cruise ship M/S “NORWEGIAN DAWN" (“VESSEL”).

  5. At all times material hereto, Plaintiff CHRISTOPHER DEFRANCO was, and still is, a

     citizen and resident of Nassau County, New York.

                                    GENERAL ALLEGATIONS

  6. On or about January 18, 2018, Plaintiff CHRISTOPHER DEFRANCO was seated in “The

     Gatsby Lounge” aboard the M/S “NORWEGIAN DAWN” when he suddenly and without

     warning was struck by a ceiling panel that fell upon his person.

  7. At the aforementioned time and place, and due to the dangerous and unsafe condition of the

     ceiling, Plaintiff CHRISTOPHER DEFRANCO was caused physical injuries to his

     person, to include his right hand, abdomen, groin, back, and neck.

      COUNT I – NEGLIGENCE OF NORWEGIAN CRUISE LINE HOLDINGS, LTD.

      Plaintiff CHRISTOPHER DEFRANCO references, incorporates, and realleges the

               allegations of Paragraphs 1 through 7 as fully as if set forth herein.

  8. At all times material hereto, NORWEGIAN CRUISE LINE HOLDINGS, LTD., d/b/a

     NORWEGIAN CRUISE LINE, a foreign corporation, was, and still is, a Bahamian or other

     foreign corporation doing business with substantial business contacts in Miami, Miami-

     Dade County, Florida.

  9. At all times material hereto, Defendant NORWEGIAN CRUISE LINE HOLDINGS, LTD.,

     d/b/a NORWEGIAN CRUISE LINE, a foreign corporation, owned, operated, chartered,

     and/or managed the passenger cruise ship M/S "NORWEGIAN DAWN," which was, and




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     still is, used for the transportation of passengers for hire upon international navigable

     waters.

  10. At all times material hereto, Defendant NORWEGIAN CRUISE LINE HOLDINGS, LTD.,

     d/b/a NORWEGIAN CRUISE LINE, a foreign corporation, through its agents, servants,

     and/or employees, committed one or more of the acts set forth in Sections 48.081,

     48.091, 48.181, 48.19, and/or 48.193, Florida Statutes.

  11. At all times material hereto, Defendant NORWEGIAN CRUISE LINE HOLDINGS, LTD.,

     d/b/a NORWEGIAN CRUISE LINE, a foreign corporation, through its agents, servants,

     and/or employees, owed and/or voluntarily undertook and assumed a duty to Plaintiff

     CHRISTOPHER DEFRANCO to exercise reasonable care under the circumstances for his

     safety, and to maintain the inside of its vessel, including the Gatsby Lounge, to make sure it

     was free from dangerous conditions including, but not limited to, loose ceiling panels which

     needed repair and/or maintenance.

  12. Defendant NORWEGIAN CRUISE LINE HOLDINGS, LTD., d/b/a NORWEGIAN

     CRUISE LINE, a foreign corporation, through its agents, servants, and/or employees,

     breached the aforesaid duty owed to Plaintiff CHRISTOPHER DEFRANCO by committing

     one or more of the following acts:

     a. Negligently failing to exercise reasonable care under the circumstances for Plaintiff

        CHRISTOPHER DEFRANCO's safety; and/or

     b. Negligently creating a dangerous and unsafe condition in the area where Plaintiff

        CHRISTOPHER DEFRANCO was struck by a falling ceiling panel and/or piece of the

        ceiling; and/or

     c. Negligently       failing   to    maintain   the   ceiling and/or area where Plaintiff




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        CHRISTOPHER DEFRANCO was struck in a reasonably safe condition; and/or

     d. Negligently failing to warn Plaintiff CHRISTOPHER DEFRANCO of the dangerous

        and unsafe condition in the Gatsby Lounge; and/or

     e. Negligently failing to post any adequate warning signs or similar devices to alert Plaintiff

        CHRISTOPHER DEFRANCO to the dangerous and unsafe condition posed by the

        ceiling; and/or

     f. Negligently failing to properly train and/or supervise its crew members and/or

        employees to properly inspect and maintain the area where Plaintiff CHRISTOPHER

        DEFRANCO was struck by falling ceiling panels; and/or

     g. Negligently failing to implement policies or procedures to keep the ceiling and/or area

        where Plaintiff CHRISTOPHER DEFRANCO was struck safe during those hours

        of   operation    when passengers, such as Plaintiff CHRISTOPHER DEFRANCO,

        would most likely be utilizing the area; and/or

     h. Negligently failing to institute safety inspection procedures to make sure that such

        dangerous and unsafe conditions aboard the Vessel, and more particularly the ceiling and/or

        areas where Plaintiff CHRISTOPHER DEFRANCO was struck, were discovered and

        made safe; and/or

     i. Negligently failing to properly carry out safety inspection procedures to make

        sure that such dangerous and unsafe conditions aboard the Vessel, and more

        particularly the area where Plaintiff CHRISTOPHER DEFRANCO was struck, were

        discovered and made safe.

  13. The dangerous and unsafe condition of the area          where    Plaintiff   CHRISTOPHER

     DEFRANCO was struck was known to Defendant NORWEGIAN CRUISE LINE




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     HOLDINGS, LTD., d/b/a NORWEGIAN CRUISE LINE, a foreign corporation, through its

     agents, servants, and/or employees, but was unknown and unlikely to be appreciated by

     Plaintiff CHRISTOPHER DEFRANCO.

  14. As a direct and proximate result of the negligent breach of the aforementioned duties owed to

     Plaintiff CHRISTOPHER DEFRANCO, he was caused to sustain bodily injury and resulting

     pain and suffering, disability and disfigurement, mental anguish, loss of capacity for

     enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss

     of earnings, loss of ability to earn money, and aggravation of a previous existing

     condition.   The losses are either permanent or continuing and Plaintiff CHRISTOPHER

     DEFRANCO will suffer such losses in the future.

                     COUNT II – NEGLIGENCE OF NCL BAHAMAS LTD

      Plaintiff CHRISTOPHER DEFRANCO references, incorporates, and realleges the

               allegations of Paragraphs 1 through 7 as fully as if set forth herein.

  15. At all times material hereto, Defendant NCL BAHAMAS LTD, d/b/a NORWEGIAN CRUISE

     LINE, a foreign corporation, was, and still is, a Bahamian or other foreign corporation doing

     business with substantial business contacts in Miami, Miami-Dade County, Florida.

  16. At all times material hereto, Defendant NCL BAHAMAS LTD, d/b/a NORWEGIAN

     CRUISE LINE, a foreign corporation, owned, operated, chartered, and/or managed the

     passenger cruise ship M/S “NORWEGIAN DAWN,"              which    was,   and   still     is,   used

     for the transportation of passengers for hire upon international navigable waters.

  17. At all times material hereto, Defendant NCL BAHAMAS LTD, d/b/a NORWEGIAN CRUISE

     LINE, a foreign corporation, through its agents, servants, and/or employees, committed one

     or more of the acts set forth in Sections 48.081, 48.091, 48.181, 48.19, and/or 48.193,




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     Florida Statutes.

  18. At all times material hereto, Defendant NCL BAHAMAS LTD, d/b/a NORWEGIAN CRUISE

     LINE, a foreign corporation, through its agents, servants, and/or employees, owed and/or

     voluntarily undertook and assumed a duty to Plaintiff CHRISTOPHER DEFRANCO to

     exercise reasonable care under the circumstances for his safety and to maintain the inside of

     its vessel, including the Gatsby Lounge, to make sure it was free from dangerous conditions

     including, but not limited to, loose ceiling panels which needed repair and/or maintenance.

  19. Defendant NCL BAHAMAS LTD, d/b/a NORWEGIAN CRUISE LINE, a foreign

     corporation, through its agents, servants, and/or employees, breached the aforesaid duty owed

     to Plaintiff CHRISTOPHER DEFRANCO by committing one or more of the following acts:

     a. Negligently failing to exercise reasonable care under the circumstances for Plaintiff

        CHRISTOPHER DEFRANCO's safety; and/or

     b. Negligently creating a dangerous and unsafe condition in the area where Plaintiff

        CHRISTOPHER DEFRANCO was struck by a falling ceiling panel and/or piece of the

        ceiling; and/or

     c. Negligently       failing   to   maintain   the   ceiling and/or area where Plaintiff

        CHRISTOPHER DEFRANCO was struck in a reasonably safe condition; and/or

     d. Negligently failing to warn Plaintiff CHRISTOPHER DEFRANCO of the dangerous

        and unsafe condition in the Gatsby Lounge; and/or

     e. Negligently failing to post any adequate warning signs or similar devices to alert Plaintiff

        CHRISTOPHER DEFRANCO to the dangerous and unsafe condition posed by the

        ceiling; and/or

     f. Negligently failing to properly train and/or supervise its crew members and/or




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         employees to properly inspect and maintain the area where Plaintiff CHRISTOPHER

         DEFRANCO was struck by falling ceiling panels; and/or

     g. Negligently failing to implement policies or procedures to keep the ceiling and/or area

         where Plaintiff CHRISTOPHER DEFRANCO was struck safe during those hours

         of   operation   when passengers, such as Plaintiff CHRISTOPHER DEFRANCO,

         would most likely be utilizing the area; and/or

     h. Negligently failing to institute safety inspection procedures to make sure that such

         dangerous and unsafe conditions aboard the Vessel, and more particularly the ceiling and/or

         areas where Plaintiff CHRISTOPHER DEFRANCO was struck, were discovered and

         made safe; and/or

     i. Negligently failing to properly carry out safety inspection procedures to make

         sure that such dangerous and unsafe conditions aboard the Vessel, and more

         particularly the area where Plaintiff CHRISTOPHER DEFRANCO was struck, were

         discovered and made safe.

  20. The dangerous and unsafe condition of the ceiling and/or areas surrounding where Plaintiff

     CHRISTOPHER DEFRANCO was struck was known to Defendant NCL BAHAMAS

     LTD, d/b/a NORWEGIAN CRUISE LINE, a foreign corporation, through its agents, servants,

     and/or employees, but was unknown and unlikely to be appreciated by Plaintiff

     CHRISTOPHER DEFRANCO.

  21. As a direct and proximate result of the negligent breach of the aforementioned duties owed to

     Plaintiff CHRISTOPHER DEFRANCO, he was caused to sustain bodily injury and resulting

     pain and suffering, disability and disfigurement, mental anguish, loss of capacity for

     enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss




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     of earnings, loss of ability to earn money, and aggravation of a previous existing

     condition.   The losses are either permanent or continuing and Plaintiff CHRISTOPHER

     DEFRANCO will suffer such losses in the future.

                  COUNT III – NEGLIGENCE OF NCL CORPORATION LTD

     Plaintiff CHRISTOPHER DEFRANCO references, incorporates, and realleges the

              allegations of Paragraphs 1 through 7 as fully as if set forth herein.

  22. At all times material hereto, NCL CORPORATION LTD, d/b/a NORWEGIAN CRUISE

     LINE, a foreign corporation, was, and still is, a Bahamian or other foreign corporation doing

     business with substantial business contacts in Miami, Miami-Dade County, Florida.

  23. At all times material hereto, Defendant NCL CORPORATION LTD, d/b/a NORWEGIAN

     CRUISE LINE, a foreign corporation, owned, operated, chartered, and/or managed the

     passenger cruise ship M/S “NORWEGIAN DAWN,"              which    was,   and   still     is,   used

     for the transportation of passengers for hire upon international navigable waters.

  24. At all times material hereto, Defendant NCL CORPORATION LTD, d/b/a NORWEGIAN

     CRUISE LINE, a foreign corporation, through its agents, servants, and/or employees,

     committed one or more of the acts set forth in Sections 48.081, 48.091, 48.181, 48.19,

     and/or 48.193, Florida Statutes.

  25. At all times material hereto, Defendant NCL CORPORATION LTD, d/b/a NORWEGIAN

     CRUISE LINE, a foreign corporation, through its agents, servants, and/or employees, owed

     and/or voluntarily undertook and assumed a duty to Plaintiff CHRISTOPHER

     DEFRANCO to exercise reasonable care under the circumstances for his safety and to

     maintain the inside of its vessel, including the Gatsby Lounge, to make sure it was free from

     dangerous conditions including, but not limited to, loose ceiling panels which needed repair




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     and/or maintenance.

  26. Defendant NCL CORPORATION LTD, d/b/a NORWEGIAN CRUISE LINE, a foreign

     corporation, through its agents, servants, and/or employees, breached the aforesaid duty owed

     to Plaintiff CHRISTOPHER DEFRANCO by committing one or more of the following acts:

     a. Negligently failing to exercise reasonable care under the circumstances for Plaintiff

        CHRISTOPHER DEFRANCO's safety; and/or

     b. Negligently creating a dangerous and unsafe condition in the area where Plaintiff

        CHRISTOPHER DEFRANCO was struck by a falling ceiling panel and/or piece of the

        ceiling; and/or

     c. Negligently       failing   to   maintain   the   ceiling and/or area where Plaintiff

        CHRISTOPHER DEFRANCO was struck in a reasonably safe condition; and/or

     d. Negligently failing to warn Plaintiff CHRISTOPHER DEFRANCO of the dangerous

        and unsafe condition in the Gatsby Lounge; and/or

     e. Negligently failing to post any adequate warning signs or similar devices to alert Plaintiff

        CHRISTOPHER DEFRANCO to the dangerous and unsafe condition posed by the

        ceiling; and/or

     f. Negligently failing to properly train and/or supervise its crew members and/or

        employees to properly inspect and maintain the area where Plaintiff CHRISTOPHER

        DEFRANCO was struck by falling ceiling panels; and/or

     g. Negligently failing to implement policies or procedures to keep the ceiling and/or area

        where Plaintiff CHRISTOPHER DEFRANCO was struck safe during those hours

        of   operation     when passengers, such as Plaintiff CHRISTOPHER DEFRANCO,

        would most likely be utilizing the area; and/or




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     h. Negligently failing to institute safety inspection procedures to make sure that such

         dangerous and unsafe conditions aboard the Vessel, and more particularly the ceiling and/or

         areas where Plaintiff CHRISTOPHER DEFRANCO was struck, were discovered and

         made safe; and/or

     i. Negligently failing to properly carry out safety inspection procedures to make

         sure that such dangerous and unsafe conditions aboard the Vessel, and more

         particularly the area where Plaintiff CHRISTOPHER DEFRANCO was struck, were

         discovered and made safe.

  27. The dangerous and unsafe condition of the area          where    Plaintiff   CHRISTOPHER

     DEFRANCO was struck was known to Defendant NCL CORPORATION LTD, d/b/a

     NORWEGIAN CRUISE LINE, a foreign corporation, through its agents, servants, and/or

     employees, but was unknown and unlikely to be appreciated by Plaintiff CHRISTOPHER

     DEFRANCO.

  28. As a direct and proximate result of the negligent breach of the aforementioned duties owed to

     Plaintiff CHRISTOPHER DEFRANCO, he was caused to sustain bodily injury and resulting

     pain and suffering, disability and disfigurement, mental anguish, loss of capacity for

     enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss

     of earnings, loss of ability to earn money, and aggravation of a previous existing

     condition.   The losses are either permanent or continuing and Plaintiff CHRISTOPHER

     DEFRANCO will suffer such losses in the future.

              COUNT IV – NEGLIGENCE OF NORWEGIAN DAWN LIMITED

      Plaintiff CHRISTOPHER DEFRANCO references, incorporates, and realleges the

               allegations of Paragraphs 1 through 7 as fully as if set forth herein.




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  29. At all times material hereto, NORWEGIAN DAWN LIMITED, a foreign corporation, was, and

     still is, an Isle of Man or other foreign corporation doing business with substantial business

     contacts in Miami, Miami-Dade County, Florida.

  30. At all times material hereto, Defendant NORWEGIAN DAWN LIMITED, a foreign

     company, owned, operated, chartered, and/or managed the passenger cruise ship M/S

     "NORWEGIAN DAWN,"           which    was,   and   still    is, used for the transportation of

     passengers for hire upon international navigable waters.

  31. At all times material hereto, Defendant NORWEGIAN DAWN LIMITED, a foreign company,

     through its agents, servants, and/or employees, committed one or more of the acts set

     forth in Sections 48.081, 48.091, 48.181, 48.19, and/or 48.193, Florida Statutes.

  32. At all times material hereto, Defendant NORWEGIAN DAWN LIMITED, a foreign

     corporation, through its agents, servants, and/or employees, owed and/or voluntarily

     undertook and assumed a duty to Plaintiff CHRISTOPHER DEFRANCO to exercise

     reasonable care under the circumstances for his safety and to maintain the inside of its vessel,

     including the Gatsby Lounge, to make sure it was free from dangerous conditions including,

     but not limited to, loose ceiling panels which needed repair and/or maintenance.

  33. Defendant NORWEGIAN DAWN LIMITED, a foreign corporation, through its agents,

     servants, and/or employees, breached the aforesaid duty owed to Plaintiff CHRISTOPHER

     DEFRANCO by committing one or more of the following acts:

     a. Negligently failing to exercise reasonable care under the circumstances for Plaintiff

        CHRISTOPHER DEFRANCO's safety; and/or

     b. Negligently creating a dangerous and unsafe condition in the area where Plaintiff

        CHRISTOPHER DEFRANCO was struck by a falling ceiling panel and/or piece of the




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        ceiling; and/or

     c. Negligently       failing   to   maintain   the   ceiling and/or area where Plaintiff

        CHRISTOPHER DEFRANCO was struck in a reasonably safe condition; and/or

     d. Negligently failing to warn Plaintiff CHRISTOPHER DEFRANCO of the dangerous

        and unsafe condition in the Gatsby Lounge; and/or

     e. Negligently failing to post any adequate warning signs or similar devices to alert Plaintiff

        CHRISTOPHER DEFRANCO to the dangerous and unsafe condition posed by the

        ceiling; and/or

     f. Negligently failing to properly train and/or supervise its crew members and/or

        employees to properly inspect and maintain the area where Plaintiff CHRISTOPHER

        DEFRANCO was struck by falling ceiling panels; and/or

     g. Negligently failing to implement policies or procedures to keep the ceiling and/or area

        where Plaintiff CHRISTOPHER DEFRANCO was struck safe during those hours

        of   operation     when passengers, such as Plaintiff CHRISTOPHER DEFRANCO,

        would most likely be utilizing the area; and/or

     h. Negligently failing to institute safety inspection procedures to make sure that such

        dangerous and unsafe conditions aboard the Vessel, and more particularly the ceiling and/or

        areas where Plaintiff CHRISTOPHER DEFRANCO was struck, were discovered and

        made safe; and/or

     i. Negligently failing to properly carry out safety inspection procedures to make

        sure that such dangerous and unsafe conditions aboard the Vessel, and more

        particularly the area where Plaintiff CHRISTOPHER DEFRANCO was struck, were

        discovered and made safe.




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  34. The dangerous and unsafe condition of the area          where    Plaintiff   CHRISTOPHER

     DEFRANCO was struck was known to Defendant NORWEGIAN DAWN LIMITED, a

     foreign corporation, through its agents, servants, and/or employees, but was unknown and

     unlikely to be appreciated by Plaintiff CHRISTOPHER DEFRANCO.

  35. As a direct and proximate result of the negligent breach of the aforementioned duties owed to

     Plaintiff CHRISTOPHER DEFRANCO, he was caused to sustain bodily injury and resulting

     pain and suffering, disability and disfigurement, mental anguish, loss of capacity for

     enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss

     of earnings, loss of ability to earn money, and aggravation of a previous existing

     condition.   The losses are either permanent or continuing and Plaintiff CHRISTOPHER

     DEFRANCO will suffer such losses in the future.

                     COUNT V – NEGLIGENCE OF NCL AMERICA LLC

      Plaintiff CHRISTOPHER DEFRANCO references, incorporates, and realleges the

               allegations of Paragraphs 1 through 7 as fully as if set forth herein.

  36. At all times material hereto, Defendant NCL AMERICA LLC, a Delaware Limited Liability

     Company, was, and still is, a Delaware Limited Liability Company doing business with

     substantial business contacts in Miami, Miami-Dade County, Florida.

  37. At all times material hereto, Defendant NCL AMERICA LLC, a Delaware Limited Liability

     Company, owned, operated, chartered, and/or managed the passenger cruise ship M/S

     “NORWEGIAN DAWN," which was, and still is, used for the transportation of passengers

     for hire upon international navigable waters.

  38. At all times material hereto, Defendant NCL AMERICA LLC, a Delaware Limited Liability

     Company, through its agents, servants, and/or employees, committed one or more of the acts




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     set forth in Sections 48.081, 48.091, 48.181, 48.19, and/or 48.193, Florida Statutes.

  39. At all times material hereto, Defendant NCL AMERICA LLC, a Delaware Limited Liability

     Company, through its agents, servants, and/or employees, owed and/or voluntarily

     undertook and assumed a duty to Plaintiff CHRISTOPHER DEFRANCO to exercise

     reasonable care under the circumstances for his safety, and to maintain the inside of its

     vessel, including the Gatsby Lounge, to make sure it was free from dangerous conditions

     including, but not limited to, loose ceiling panels which needed repair and/or maintenance.

  40. Defendant NCL AMERICA LLC, a Delaware Limited Liability Company, through its agents,

     servants, and/or employees, breached the aforesaid duty owed to Plaintiff CHRISTOPHER

     DEFRANCO by committing one or more of the following acts:

     a. Negligently failing to exercise reasonable care under the circumstances for Plaintiff

        CHRISTOPHER DEFRANCO's safety; and/or

     b. Negligently creating a dangerous and unsafe condition in the area where Plaintiff

        CHRISTOPHER DEFRANCO was struck by a falling ceiling panel and/or piece of the

        ceiling; and/or

     c. Negligently       failing   to   maintain   the   ceiling and/or area where Plaintiff

        CHRISTOPHER DEFRANCO was struck in a reasonably safe condition; and/or

     d. Negligently failing to warn Plaintiff CHRISTOPHER DEFRANCO of the dangerous

        and unsafe condition in the Gatsby Lounge; and/or

     e. Negligently failing to post any adequate warning signs or similar devices to alert Plaintiff

        CHRISTOPHER DEFRANCO to the dangerous and unsafe condition posed by the

        ceiling; and/or

     f. Negligently failing to properly train and/or supervise its crew members and/or




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         employees to properly inspect and maintain the area where Plaintiff CHRISTOPHER

         DEFRANCO was struck by falling ceiling panels; and/or

     g. Negligently failing to implement policies or procedures to keep the ceiling and/or area

         where Plaintiff CHRISTOPHER DEFRANCO was struck safe during those hours

         of   operation   when passengers, such as Plaintiff CHRISTOPHER DEFRANCO,

         would most likely be utilizing the area; and/or

     h. Negligently failing to institute safety inspection procedures to make sure that such

         dangerous and unsafe conditions aboard the Vessel, and more particularly the ceiling and/or

         areas where Plaintiff CHRISTOPHER DEFRANCO was struck, were discovered and

         made safe; and/or

     i. Negligently failing to properly carry out safety inspection procedures to make

         sure that such dangerous and unsafe conditions aboard the Vessel, and more

         particularly the area where Plaintiff CHRISTOPHER DEFRANCO was struck, were

         discovered and made safe.

  41. The dangerous and unsafe condition of the area          where    Plaintiff   CHRISTOPHER

     DEFRANCO was struck was known to Defendant NCL AMERICA LLC, a Delaware

     Limited Liability Company, through its agents, servants, and/or employees, but was unknown

     and unlikely to be appreciated by Plaintiff CHRISTOPHER DEFRANCO.

  42. As a direct and proximate result of the negligent breach of the aforementioned duties owed to

     Plaintiff CHRISTOPHER DEFRANCO, he was caused to sustain bodily injury and resulting

     pain and suffering, disability and disfigurement, mental anguish, loss of capacity for

     enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss

     of earnings, loss of ability to earn money, and aggravation of a previous existing




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      condition.   The losses are either permanent or continuing and Plaintiff CHRISTOPHER

      DEFRANCO will suffer such losses in the future.

          WHEREFORE, Plaintiff CHRISTOPHER DEFRANCO demands trial by jury and

  requests this Court enter judgment against Defendants NORWEGIAN CRUISE LINE

  HOLDINGS, LTD, d/b/a NORWEGIAN CRUISE LINE, a foreign corporation, NCL

  BAHAMAS LTD, d/b/a NORWEGIAN CRUISE LINE, a foreign corporation, NCL

  CORPORATION LTD, d/b/a NORWEGIAN CRUISE LINE, a foreign corporation,

  NORWEGIAN DAWN LIMITED, a foreign corporation, and NCL AMERICA LLC, a

  Delaware Limited Liability Company, for damages, along with pre- and post-judgment interest,

  costs of suit, and such other or further relief as this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

          Plaintiff CHRISTOPHER DEFRANCO demands trial by jury of all issues so triable as

  of right.

                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 11, 2019 the foregoing was electronically filed

  with the Clerk of Court using CM/ECF.

                                                 TODD ROSEN LAW GROUP
                                                 Attorneys for Plaintiff
                                                 201 Alhambra Circle, Suite 601
                                                 Coral Gables, Florida 33134
                                                 Tel: 305/285-3022/Fax: 305/675-8090
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                                                 By:     /s/ Todd Rosen
                                                       Todd Rosen, Esquire
                                                       Florida Bar No.: 0527181




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